                    UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________

UNITED STATES OF AMERICA,

                     Plaintiff,

          vs.                                             Case No. 16-CR-21 (PP)

SAMY M. HAMZEH,

                 Defendant.
________________________________________________________________________

                                  MOTION TO SEAL

      Samy Hamzeh, by counsel, pursuant to General Local Rule 79(d), hereby

requests that the Court file and maintain under seal the document filed on

today’s date and its attachments. The grounds for the request to seal are detailed

in the submission.

      Dated at Milwaukee, Wisconsin this 7th day of April, 2017.

                                      Respectfully submitted,

                                      /s/      Craig W. Albee       _
                                      Craig W. Albee, WI Bar #1015752
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                                       OF WISCONSIN, INC.
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                                                         Federal Defender Services
                                                                of Wisconsin, Inc.
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